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Attorneys for Plaintiffs and the Putative Class


                      UNITED STATES DISTRICT COURT
                            DISTRICT OF UTAH


 NOVELLA ATWOOD; CHRISTINE CID; FIRST AMENDED CLASS
 CHERALEE ENGLAND; KATHLEEN ACTION COMPLAINT
 GAGON; KRISTEN PUERTAS; JANICE
                                          JURY TRIAL DEMANDED
 RANDALL; and SARAH TYCHSEN,
 individually and on behalf of all others
 similarly situated,
                                          Case No. 1:24-cv-00046
                     Plaintiff,
        v.
                                                  District Judge Tena Campbell
 DOTDASH   MEDIA,             INC.     D/B/A Magistrate Judge Daphne A. Oberg
 DOTDASH MEREDITH,
                      Defendant.
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      Plaintiff Novella Atwood (“Plaintiff Atwood”), Plaintiff Christine Cid

(“Plaintiff Cid”), Plaintiff Cheralee England (“Plaintiff England”), Plaintiff

Kathleen Gagon (“Plaintiff Gagon”), Plaintiff Kristen Puertas (“Plaintiff Puertas”),

Plaintiff Janice Randall (“Plaintiff Randall”), and Plaintiff Sarah Tychsen (“Plaintiff

Tychsen”) (collectively, “Plaintiffs”),1 individually and on behalf of all others

similarly situated, make the following allegations pursuant to the investigation of

their counsel and based upon information and belief, except as to allegations

specifically pertaining to themselves and their counsel, which are based on personal

knowledge.

                                INTRODUCTION

      1.      Defendant Dotdash Media, Inc/ d/b/a Dotdash Meredith (“Meredith”)

rented, sold, and/or otherwise disclosed for compensation detailed information about

Plaintiffs’ purchases of subscriptions to several Meredith magazines—including

their full names, home addresses, the fact that they are Meredith magazine

customers, and the products and the dollar amount of the products they purchased

(collectively “Private Purchase Information”)— to data aggregators, data appenders,

data cooperatives, list brokers, political organizations, aggressive direct-mail

advertisers, and non-profit organizations. As a result, Plaintiffs have received a



1
  Plaintiffs submit this First Amended Complaint pursuant to Fed. R. Civ. P.
15(a)(1)(B).
                                          2
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barrage of unwanted junk mail. By renting, selling, and/or otherwise disclosing for

compensation Plaintiffs’ Private Purchase Information (defined below), without

providing Plaintiffs with prior notice of these disclosures, Meredith violated Utah’s

Notice of Intent to Sell Nonpublic Personal Information Act, Utah Code Ann. § 13-

37 (the “NISNPIA”).

      2.      Documented evidence confirms these facts. For example, Meredith,

through list broker AudienceFirst Media (“AFM”), offers to provide renters access

to the “Dotdash Meredith Database – Enhanced Masterfile”, which contains the

Private Purchase Information of all 7,499,000 of Defendant’s recent magazine and

book purchasers at a base price of “$115/M [per thousand],” (i.e., 11.5 cents apiece),

as shown in the screenshot below:




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                                          3
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See Exhibit A hereto.

      3.     Egregiously, Meredith also offers to sell, rent, or exchange lists of all

of its customers over 50 years old (broken down by age bracket) and its customers

with children (broken down by the children’s age), as reflected by the following

datacards currently advertised by Meredith on AFM’s website:



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Exhibits B-C hereto.

      4.      By renting, selling, or otherwise disclosing for compensation the

Private Purchase Information of its customers to third parties, without providing its

customers prior notice of such practices, Meredith violated the NISNPIA.

Subsection 2 of the NISNPIA provides:

             A commercial entity may not disclose nonpublic personal
             information that the commercial entity obtained on or after
             January 1, 2004, as a result of a consumer transaction if
             the commercial entity fails to comply with [the provisions
             requiring that prior notice of such disclosures be provided
             to the consumer, as set forth in] Section 13-37-201.

Utah Code Ann. § 13-37-202(1).

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      5.      Accordingly, Plaintiffs bring this First Amended Class Action

Complaint against Meredith for its intentional, systematic, and unlawful disclosures

of its customers’ Private Purchase Information in violation of the NISNPIA.

                            NATURE OF THE CASE

      6.      To supplement its revenues, Meredith rents and sells (for money),

exchanges (for other valuable consumer data), and otherwise discloses for

compensation all of its customers’ information—including their full names, home

addresses, and fact that they are purchasers of Defendant’s publications (collectively

“Private Purchase Information”), as well as other sensitive personal and

demographic information such as their gender, age, income, ethnicity, policital

views, lifestyle interests, preferred travel locations, hobbies, reading habits, health

and exercise routines, and sports and outdoor interests—to data aggregators, data

appenders, data cooperatives, list brokers, political organizations, aggressive direct-

mail advertisers, non-profit organizations, and other third parties without the written

consent of its customers.

      7.      Meredith’s disclosure of Private Purchase Information and other

individualized information is not only unlawful, but also dangerous because they

allow for the targeting of particularly vulnerable members of society. For example,

anyone could rent a customer list from Meredith that contains the names and

addresses of all Hispanic women in Utah who are over the age of 60, live in a home


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with children between 6 and 12 years old, have an annual income of less than

$30,000, and subscribe to Better Home & Gardens. Such a list is available for sale

on the open market for approximately $176.00 per thousand subscribers listed.

        8.       While Meredith profits handsomely from the unauthorized rentals,

sales, and/or other compensation-driven disclosures of its customers’ Private

Purchase Information, it does so at the expense of its customers’ statutory privacy

rights (afforded by the NISNPIA) because Meredith does not provide any prior

notice of such disclosures to its customers (much less obtain their consent) before

disclosing their Private Purchase Information to third parties for compensation.

                                       PARTIES

   I.         Plaintiff Atwood

         9.      Plaintiff Atwood is a natural person and a citizen and resident of Salt

Lake County in West Valley, Utah.

         10.     On or after January 1, 2004, while a resident of and physically present

in Utah, Plaintiff Cid purchased subscriptions to several magazines from Meredith,

including but not limited to Travel + Leisure and allrecipes Digital. Such

subscriptions were subsequently sent by Defendant to Plaintiff Atwood’s address in

Utah.

         11.     Prior to and at the time Plaintiff Atwood made her purchases, Meredith

did not notify Plaintiff Atwood that it rents, sells, exchanges, or otherwise discloses


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for compensation its customers’ Private Purchase Information to third parties, and

Plaintiff Atwood has never authorized Meredith to do so. Furthermore, Plaintiff

Atwood was never provided any written notice that Meredith rents, sells, or

otherwise discloses for compensation its customers’ Private Purchase Information,

or any means of opting out.

         12.   After such purchases were made, and during the applicable statutory

period, Meredith disclosed, without providing Plaintiff Atwood the prior notice

required by Utah Code Ann. § 13-37-201, Plaintiff Atwood’s Private Purchase

Information to data aggregators, data appenders, and/or data cooperatives, list

brokers, aggressive advertisers, direct-marketing companies, political organizations,

non-profit companies, and other third parties, who then supplemented that

information with data from their own files.

         13.   Moreover, during that same period, Meredith rented, sold, exchanged,

or otherwise disclosed for compensation lists containing Plaintiff Atwood’s Private

Purchase Information to third parties seeking to contact Meredith’s customers for

their own independent business purposes.

   II.     Plaintiff Cid

         14.   Plaintiff Cid is a natural person and a citizen and resident of Salt Lake

County in West Jordan, Utah.

         15.   On or after January 1, 2004, while a resident of and physically present

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in Utah, Plaintiff Cid purchased subscriptions to several magazines from Meredith,

including but not limited to Travel + Leisure and People. Such subscriptions were

subsequently sent by Defendant to Plaintiff Cid’s address in Utah.

       16.    Prior to and at the time Plaintiff Cid made her purchases, Meredith did

not notify Plaintiff Cid that it rents, sells, exchanges, or otherwise discloses for

compensation its customers’ Private Purchase Information to third parties, and

Plaintiff Cid has never authorized Meredith to do so. Furthermore, Plaintiff Cid was

never provided any written notice that Meredith rents, sells, or otherwise discloses

for compensation its customers’ Private Purchase Information, or any means of

opting out.

       17.    After such purchases were made, and during the applicable statutory

period, Meredith disclosed, without providing Plaintiff Cid the prior notice required

by Utah Code Ann. § 13-37-201, Plaintiff Cid’s Private Purchase Information to data

aggregators, data appenders, and/or data cooperatives, list brokers, aggressive

advertisers, direct-marketing companies, political organizations, non-profit

companies, and other third parties, who then supplemented that information with

data from their own files.

       18.    Moreover, during that same period, Meredith rented, sold, exchanged,

or otherwise disclosed for compensation lists containing Plaintiff Cid’s Private

Purchase Information to third parties seeking to contact Meredith’s customers for

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 their own independent business purposes.

    III.     Plaintiff England

           19.   Plaintiff England is a natural person and a citizen and resident of

 Carbon County in Sunnyside, Utah.

           20.   On or after January 1, 2004, while a resident of and physically present

 in Utah, Plaintiff England purchased subscriptions to several magazines from

 Meredith, including but not limited to Better Homes and Gardens. Such

 subscriptions were subsequently sent by Defendant to Plaintiff England’s address in

 Utah.

           21.   Prior to and at the time Plaintiff England made her purchases,

 Meredith did not notify Plaintiff England that it rents, sells, exchanges, or otherwise

 discloses for compensation its customers’ Private Purchase Information to third

 parties, and Plaintiff England has never authorized Meredith to do so. Furthermore,

 Plaintiff England was never provided any written notice that Meredith rents, sells,

 or otherwise discloses for compensation its customers’ Private Purchase

 Information, or any means of opting out.

           22.   After such purchases were made, and during the applicable statutory

 period, Meredith disclosed, without providing Plaintiff England the prior notice

 required by Utah Code Ann. § 13-37-201, Plaintiff England’s Private Purchase

 Information to data aggregators, data appenders, and/or data cooperatives, list

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 brokers, aggressive advertisers, direct-marketing companies, political organizations,

 non-profit companies, and other third parties, who then supplemented that

 information with data from their own files.

          23.   Moreover, during that same period, Meredith rented, sold, exchanged,

 or otherwise disclosed for compensation lists containing Plaintiff England’s Private

 Purchase Information to third parties seeking to contact Meredith’s customers for

 their own independent business purposes.

    IV.     Plaintiff Gagon

          24.   Plaintiff Gagon is a natural person and a citizen and resident of Utah

 County in American Fork, Utah.

          25.   On or after January 1, 2004, while a resident of and physically present

 in Utah, Plaintiff Gagon purchased subscriptions to several magazines from

 Meredith, including but not limited to Better Homes & Gardens and Real Simple.

 Such subscriptions were subsequently sent by Defendant to Plaintiff Gagon’s

 address in Utah.

          26.   Prior to and at the time Plaintiff Gagon made her purchases, Meredith

 did not notify Plaintiff Gagon that it rents, sells, exchanges, or otherwise discloses

 for compensation its customers’ Private Purchase Information to third parties, and

 Plaintiff Gagon has never authorized Meredith to do so. Furthermore, Plaintiff

 Gagon was never provided any written notice that Meredith rents, sells, or otherwise

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 discloses for compensation its customers’ Private Purchase Information, or any

 means of opting out.

         27.   After such purchases were made, and during the applicable statutory

 period, Meredith disclosed, without providing Plaintiff Gagon the prior notice

 required by Utah Code Ann. § 13-37-201, Plaintiff Gagon’s Private Purchase

 Information to data aggregators, data appenders, and/or data cooperatives, list

 brokers, aggressive advertisers, direct-marketing companies, political organizations,

 non-profit companies, and others, who then supplemented that information with data

 from their own files.

         28.   Moreover, during that same period, Meredith rented, sold, exchanged,

 or otherwise disclosed for compensation lists containing Plaintiff Gagon’s Private

 Purchase Information to third parties seeking to contact Meredith’s customers for

 their own independent business purposes.

    V.     Plaintiff Puertas

         29.   Plaintiff Puertas is a natural person and a citizen and resident of Utah

 County in Orem, Utah.

         30.   On or after January 1, 2004, while a resident of and physically present

 in Utah, Plaintiff Puertas purchased one or more subscriptions to magazine(s) from

 Meredith, including but not limited to Better Homes & Gardens. Such subscriptions

 were subsequently sent by Defendant to Plaintiff Puertas’ address in Utah.

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          31.   Prior to and at the time Plaintiff Puertas made her purchases, Meredith

 did not notify Plaintiff Puertas that it rents, sells, exchanges, or otherwise discloses

 for compensation its customers’ Private Purchase Information to third parties, and

 Plaintiff Puertas has never authorized Meredith to do so. Furthermore, Plaintiff

 Puertas was never provided any written notice that Meredith rents, sells, or otherwise

 discloses for compensation its customers’ Private Purchase Information, or any

 means of opting out.

          32.   After such purchases were made, and during the applicable statutory

 period, Meredith disclosed, without providing Plaintiff the prior notice required by

 Utah Code Ann. § 13-37-201, Plaintiff Puertas’ Private Purchase Information to data

 aggregators, data appenders, and/or data cooperatives, list brokers, aggressive

 advertisers, direct-marketing companies, political organizations, non-profit

 companies, and others, who then supplemented that information with data from their

 own files.

          33.   Moreover, during that same period, Meredith rented, sold, exchanged,

 or otherwise disclosed for compensation lists containing Plaintiff Puertas’ Private

 Purchase Information to third parties seeking to contact Meredith’s customers for

 their own independent business purposes.

    VI.     Plaintiff Randall

          34.   Plaintiff Randall is a natural person and a citizen and resident of Utah

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 County in Sarasota Springs, Utah.

        35.    On or after January 1, 2004, while a resident of and physically present

 in Utah, Plaintiff Randall purchased subscriptions to several magazines from

 Meredith, including but not limited to Better Homes & Gardens, Travel + Leisure,

 and Real Simple. Such subscriptions were subsequently sent by Defendant to

 Plaintiff Randall’s address in Utah.

        36.    Prior to and at the time Plaintiff Randall made her purchases, Meredith

 did not notify Plaintiff Randall that it rents, sells, exchanges, or otherwise discloses

 for compensation its customers’ Private Purchase Information to third parties, and

 Plaintiff Randall has never authorized Meredith to do so. Furthermore, Plaintiff

 Randall was never provided any written notice that Meredith rents, sells, or

 otherwise discloses for compensation its customers’ Private Purchase Information,

 or any means of opting out.

        37.    After such purchases were made, and during the applicable statutory

 period, Meredith disclosed, without providing Plaintiff Randall the prior notice

 required by Utah Code Ann. § 13-37-201, Plaintiff Randall’s Private Purchase

 Information to data aggregators, data appenders, and/or data cooperatives, list

 brokers, aggressive advertisers, direct-marketing companies, political organizations,

 non-profit companies, and others, who then supplemented that information with data

 from their own files.

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           38.     Moreover, during that same period, Meredith rented, sold, exchanged,

 or otherwise disclosed for compensation lists containing Plaintiff Randall’s Private

 Purchase Information to third parties seeking to contact Meredith’s customers for

 their own independent business purposes.

    VII. Plaintiff Tychsen

           39.     Plaintiff Tychsen is a natural person and a citizen and resident of

 Summit County in Francis, Utah.

           40.     On or after January 1, 2004, while a resident of and physically present

 in Utah, Plaintiff Tychsen purchased subscriptions to several magazines from

 Meredith, including but not limited to Better Homes & Gardens, Allrecipes, and Real

 Simple.         Such subscriptions were subsequently sent by Defendant to Plaintiff

 Tychsen’s address in Utah.

           41.     Prior to and at the time Plaintiff Tychsen made her purchases,

 Meredith did not notify Plaintiff Tychsen that it rents, sells, exchanges, or otherwise

 discloses for compensation its customers’ Private Purchase Information to third

 parties, and Plaintiff Tychsen has never authorized Meredith to do so. Furthermore,

 Plaintiff Tychsen was never provided any written notice that Meredith rents, sells,

 or otherwise discloses for compensation its customers’ Private Purchase

 Information, or any means of opting out.

           42.     After such purchases were made, and during the applicable statutory

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 period, Meredith disclosed, without providing Plaintiff Tychsen the prior notice

 required by Utah Code Ann. § 13-37-201, Plaintiff Tychsen’s Private Purchase

 Information to data aggregators, data appenders, and/or data cooperatives, list

 brokers, aggressive advertisers, direct-marketing companies, political organizations,

 non-profit companies, and others, who then supplemented that information with data

 from their own files.

        43.    Moreover, during that same period, Meredith rented, sold, exchanged,

 or otherwise disclosed for compensation lists containing Plaintiff Tychsen’s Private

 Purchase Information to third parties seeking to contact Meredith’s customers for

 their own independent business purposes.

    VIII. Defendant Dotdash Media, Inc. d/b/a Dotdash Meredith

        44.    Meredith is the largest digital and print publisher in the United States.

        45.    Meredith is a Delaware corporation that maintains its headquarters and

 principal place of business in New York, New York.

        46.    Meredith has one or more office(s) or other place(s) of business in

 Utah, including but not limited to 1108 E. South Union Ave., Midvale, Utah 84047

 (a location overseen by Meredith’s registered agent on Meredith’s behalf).

 Additionally, Meredith has employees who work for Meredith from Utah (and thus

 conduct business on Meredith’s behalf at places in Utah).

        47.    Meredith does business throughout Utah and the entire United States

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 and, in the ordinary course of its business, enters into transactions with consumers

 in Utah.

        48.   Meredith is the publisher of numerous magazines, books, and other

 publications, including but not limited to Better Homes & Gardens, People, Country

 Home, Allrecipes, Southern Living, Real Simple, Magnolia Journal, Wood, 25

 Beautiful Homes, Ageless Iron, American Baby, American Patchwork & Quilting,

 Country Life, Diabetic Living, Do-It-Yourself, Eat This, Not That, EatingWell,

 Entertainment Weekly, Every Day with Rachael Ray, FamilyFun, Fitness, Food &

 Wine, Health, InStyle, Living the Country Life, Midwest Living, Parents, Practical

 Boat Owner, Shape, Siempre Mujer, Successful Farming, and Travel + Leisure.

                         JURISDICTION AND VENUE

       49.    This Court has subject matter jurisdiction over this civil action

 pursuant to 28 U.S.C. § 1332(d) because there are more than 100 class members and

 the aggregate amount in controversy exceeds $5,000,000, exclusive of interest, fees,

 and costs, and at least one Class member is a citizen of a state different from

 Defendant.

       50.    The Court has personal jurisdiction over Meredith because Plaintiffs’

 claims arose in substantial part from actions and omissions in Utah, including from

 Plaintiffs’ purchases of subscriptions to Defendant's magazines while Plaintiffs

 resided and were physically present in Utah; Meredith’s direction of such consumer


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 products into Utah; and Meredith’s failure to provide to Plaintiffs, in Utah, the notice

 required by Utah Code Ann. § 13-37-201 before disclosing their Private Purchase

 Information, including their residential addresses in Utah, to other persons, the

 effects of which were felt from within Utah by a citizen and resident of Utah.

 Personal jurisdiction also exists over Meredith in Utah because Meredith is

 registered to do business in Utah, maintains one or more office(s) or other place(s)

 of business in Utah (including a location overseen by its registered agent), and

 conducts substantial business within Utah, such that Meredith has significant,

 continuous, and pervasive contacts with Utah.

        51.      Venue is proper in this District pursuant to 28 U.S.C. § 1391 because

 Plaintiffs reside in this judicial District, Meredith does substantial business in this

 judicial District, Meredith is subject to personal jurisdiction in this judicial District,

 and a substantial part of the events giving rise to Plaintiffs’ claims took place within

 this judicial District.

                             FACTUAL BACKGROUND

        Utah’s Notice of Intent to Sell Nonpublic Personal Information Act

        52.     Pursuant to the NISNPIA, “[a] commercial entity may not disclose

 nonpublic personal information that the commercial entity obtained on or after

 January 1, 2004, as a result of a consumer transaction if the commercial entity fails

 to comply with Section 13-37-201.” Utah Code Ann. § 13-37-202.


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       53.      A “commercial entity” is a person that “has an office or other place

 of business located in [Utah]” and “in the ordinary course of business transacts a

 consumer transaction in [Utah].” Id. § 13-37-102(2)(a).

       54.      “Consumer transaction” means, inter alia, “a sale, lease, assignment,

 award by chance, or other written or oral transfer or disposition . . . of[] goods[,]

 services[,] or other tangible or intangible property, . . . that is initiated or completed

 in [Utah].” Id. § 13-37-102(4)(a)(i).

       55.      “Nonpublic personal information” means “information that . . . is not

 public information” and, “either alone or in conjunction with public information,

 identifies a person in distinction from other persons.” Id. § 13-37-102(5)(a).

 “Nonpublic personal information” expressly includes, inter alia, “the purchasing

 patterns of a person” or “the personal preferences of a person.” Id. § 13-37-

 102(5)(b)(iii)-(iv).

       56.      A commercial entity “is considered to have obtained information as a

 result of a consumer transaction if . . . the person provides the information to the

 commercial entity . . . at any time during the consumer transaction . . . and at the

 request of the commercial entity,” or if “the commercial entity otherwise obtains the

 information . . . and but for the consumer transactions, the commercial entity would

 not obtain the information.” Id. § 13-37-201(1)(b).

       57.      Section 13-37-201 of the NISNPIA requires a commercial entity to


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 provide the consumer with a notice, in the form set forth in that section, if

 “the commercial entity enters into a consumer transaction with that person[,]” “as a

 result of the consumer transaction . . . , the commercial entity obtains nonpublic

 personal information concerning that person[,] and “the commercial entity intends

 to or wants the ability to disclose the nonpublic personal information . . . to a third

 party . . . for compensation,” where such compensation “is the primary consideration

 for the commercial entity disclosing the nonpublic personal information,” is

 “directly related to the commercial entity disclosing the nonpublic personal

 information,” and “is not compensation received by the commercial entity in

 consideration of a transaction [wherein a third party provides the commercial entity

 with: “(i) services, including business outsource services; (ii) personal or real

 property; or (iii) other thing of value”]).” Id. § 13-37-201(1)(a); § 13-37-201(5).

        58.     The notice required by section 13-37-201 of the NISNPIA “shall read

 substantially as follows: ‘We may choose to disclose nonpublic personal

 information about you, the consumer, to a third party for compensation.” Id. § 13-

 37-201(3)(a). The notice may be provided either “orally, if the consumer transaction

 itself is entirely conducted orally[,] or . . . in writing, if the notice is written in dark

 bold.” Id. § 13-37-201(3)(b). In either case, the notice “shall be sufficiently

 conspicuous so that a reasonable person would perceive the notice before providing

 the nonpublic personal information.” Id. § 13-37-201(3)(c). The notice “shall be


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 given before the earlier of . . . the point at which the person is requested to provide

 the nonpublic personal information[] or . . . the commercial entity otherwise obtains

 the nonpubllic personal information as a result of the consumer transaction[.]” Id. §

 13-37-201(2).

       59.     The NISNPIA entitles consumers who suffer violations of the statute

 to recover, inter alia, “$500 for each time the commercial entity fails to provide the

 notice required by this section in relation to the nonpublic personal information of

 the person who brings the action.” Id. § 13-37-203.

       60.     Despite the fact that Meredith has initiated or completed at least tens

 of thousands of sales of its products to consumers in Utah, Meredith disregarded its

 legal responsibility to these individuals by systematically violating the NISNPIA.

                        The Private Information Market:
                  Consumers’ Private Information Has Real Value

       61.     In 2001, Federal Trade Commission (“FTC”) Commissioner Orson

 Swindle remarked that “the digital revolution . . . has given an enormous capacity

 to the acts of collecting and transmitting and flowing of information, unlike anything

 we’ve ever seen in our lifetimes . . . [and] individuals are concerned about being

 defined by the existing data on themselves.”2


 2
        Exhibit D, The Information Marketplace: Merging and Exchanging
 Consumer Data (Mar. 13, 2001), at 8:15-11:16, available at
 https://www.ftc.gov/sites/default/files/documents/public_events/information-

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       62.     More than two decades later, Commissioner Swindle’s comments ring

 truer than ever, as consumer data feeds an information marketplace that supports a

 $26 billion dollar per year online advertising industry in the United States.3

       63.     The FTC has also recognized that consumer data possesses inherent

 monetary value within the new information marketplace and publicly stated that:

              Most consumers cannot begin to comprehend the types
              and amount of information collected by businesses, or why
              their information may be commercially valuable. Data is
              currency. The larger the data set, the greater potential for
              analysis—and profit.4

       64.     In fact, an entire industry exists while companies known as data

 aggregators purchase, trade, and collect massive databases of information about

 consumers. Data aggregators then profit by selling this “extraordinarily intrusive”




 marketplace-merging-and-exchanging-consumer-data/transcript.pdf (last visited
 July 30, 2021).
 3
         See Exhibit E, Web’s Hot New Commodity: Privacy, WSJ (Feb. 28, 2011),
 http://online.wsj.com/article/SB10001424052748703529004576160764037920274
 .html (last visited July 30, 2021).
 4
         Exhibit F, Statement of FTC Commissioner Pamela Jones Harbour (Dec. 7,
 2009),                at                 2,             available                at
 https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-
 exploring-privacy-roundtable/091207privacyroundtable.pdf (last visited July 30,
 2021) (emphasis added).
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 information in an open and largely unregulated market.5

       65.     The scope of data aggregators’ knowledge about consumers is

 immense: “If you are an American adult, the odds are that [they] know[] things like

 your age, race, sex, weight, height, marital status, education level, politics, buying

 habits, household health worries, vacation dreams—and on and on.”6

       66.     Further, “[a]s use of the Internet has grown, the data broker industry

 has already evolved to take advantage of the increasingly specific pieces of

 information about consumers that are now available.”7

       67.     Recognizing the serious threat the data mining industry poses to

 consumers’ privacy, on July 25, 2012, the co-Chairmen of the Congressional Bi-

 Partisan Privacy Caucus sent a letter to nine major data brokerage companies

 seeking information on how those companies collect, store, and sell their massive



 5
      See Exhibit G, Martha C. White, Big Data Knows What You’re Doing Right
 Now, TIME.com (July 31, 2012), http://moneyland.time.com/2012/07/31/big-data-
 knows-what-youre-doing-right-now/ (last visited July 30, 2021).
 6
        Exhibit H, Natasha Singer, You for Sale: Mapping, and Sharing, the
 Consumer Genome, N.Y. Times (June 16, 2012), available at
 https://www.immagic.com/eLibrary/ARCHIVES/GENERAL/GENPRESS/N12061
 6S.pdf (last visited July 30, 2021).
 7
        Exhibit I, Letter from Senator John D. Rockefeller IV, Chairman, Senate
 Committee on Commerce, Science, and Transportation, to Scott E. Howe, Chief
 Executive     Officer,      Acxiom     (Oct.    9,   2012)     available    at
 http://www.commerce.senate.gov/public/?a=Files.Serve&File_id=3bb94703-5ac8-
 4157-a97b-a658c3c3061c (last visited July 30, 2021).

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 collections of consumer data.8

       68.     In their letter, the co-Chairmen recognized that “[b]y combining data

 from numerous offline and online sources, data brokers have developed hidden

 dossiers on every U.S. consumer,” which “raises a number of serious privacy

 concerns.”9

       69.     Data aggregation is especially troublesome when consumer

 information is sold to direct-mail advertisers. In addition to causing waste and

 inconvenience, direct-mail advertisers often use consumer information to lure

 unsuspecting consumers into various scams,10 including fraudulent sweepstakes,

 charities, and buying clubs. Thus, when companies like Meredith share information

 with data aggregators, data cooperatives, and direct-mail advertisers, they contribute

 to the “[v]ast databases” of consumer data that are often “sold to thieves by large

 publicly traded companies,” which “put[s] almost anyone within the reach of




 8
         See Exhibit J, Bipartisan Group of Lawmakers Query Data Brokers About
 Practices Involving Consumers’ Personal Information, Website of Senator Ed
 Markey      (July     24,     2012),   http://www.markey.senate.gov/news/press-
 releases/bipartisan-group-of-lawmakers-query-data-brokers-about-practices-
 involving-consumers-personal-information (last visited July 30, 2021).
 9
        Id.
 10
       See Exhibit K, Prize Scams, Federal Trade Commission,
 http://www.consumer.ftc.gov/articles/0199-prize-scams (last visited July 30, 2021).

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 fraudulent telemarketers” and other criminals.11

       70.     Information disclosures like those made by Meredith are especially

 dangerous to the elderly. “Older Americans are perfect telemarketing customers,

 analysts say, because they are often at home, rely on delivery services, and are lonely

 for the companionship that telephone callers provide.”12 The FTC notes that “[t]he

 elderly often are the deliberate targets of fraudulent telemarketers who take

 advantage of the fact that many older people have cash reserves or other assets to

 spend on seemingly attractive offers.”13 Indeed, an entire black market exists where

 the private information of vulnerable elderly Americans is exchanged.

       71.     Thus, information disclosures like Meredith’s are particularly

 troublesome because of their cascading nature: “Once marked as receptive to [a

 specific] type of spam, a consumer is of Meredith bombarded with similar fraudulent




 11
        Exhibit L, Charles Duhigg, Bilking the Elderly, With a Corporate Assist, N.Y.
 Times,           May           20,            2007,            available          at
 http://www.nytimes.com/2007/05/20/business/20tele.html (last visited July 30,
 2021).
 12
       Id.
 13
        Exhibit M, Fraud Against Seniors: Hearing before the Senate Special
 Committee on Aging (August 10, 2000) (prepared statement of the FTC), available
 at https://www.ftc.gov/sites/default/files/documents/public_statements/prepared-
 statement-federal-trade-commission-fraud-against-seniors/agingtestimony.pdf (last
 visited July 30, 2021).

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 offers from a host of scam artists.”14

       72.       Meredith is not alone in jeopardizing its customers’ privacy and well-

 being in exchange for increased revenue: disclosing customer information to data

 aggregators, data appenders, data cooperatives, direct marketers, and other third

 parties for compensation is a widespread practice in the publishing and other

 consumer-products industries.

       73.       Thus, as consumer data has become an ever-more valuable

 commodity, the data mining industry has experienced rapid and massive growth.

 Unfortunately for consumers, this growth has come at the expense of their most

 basic privacy rights.

              Consumers Place Monetary Value on Their Privacy and
               Consider Privacy Practices When Making Purchases

       74.       As the data aggregation and cooperative industry has grown, so too

 have consumer concerns regarding the privacy of their information.

       75.       A recent survey conducted by Harris Interactive on behalf of

 TRUSTe, Inc. showed that 89 percent of consumers polled avoid doing business

 with companies who they believe do not protect their privacy online.15 As a result,



 14
       See id.
 15
     See Exhibit N, 2014 TRUSTe US Consumer Confidence Privacy Report,
 TRUSTe,                                  http://www.theagitator.net/wp-

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 81 percent of smartphone users polled said that they avoid using smartphone apps

 that they don’t believe protect their privacy online.16

       76.     Thus, as consumer privacy concerns grow, consumers are increasingly

 incorporating privacy concerns and values into their purchasing decisions and

 companies viewed as having weaker privacy protections are forced to offer greater

 value elsewhere (through better quality and/or lower prices) than their privacy-

 protective competitors.

       77.     In fact, consumers’ private information has become such a valuable

 commodity that companies are beginning to offer individuals the opportunity to sell

 their information themselves.17

       78.     These companies’ business models capitalize on a fundamental tenet

 underlying the consumer information marketplace: consumers recognize the

 economic value of their private data. Research shows that consumers are willing to

 pay a premium to purchase services from companies that adhere to more stringent




 content/uploads/012714_ConsumerConfidenceReport_US1.pdf (last visited July
 30, 2021).
 16
       Id.
 17
        See Exhibit O, Joshua Brustein, Start-Ups Seek to Help Users Put a Price on
 Their Personal Data, N.Y. Times (Feb. 12, 2012), available at
 http://www.nytimes.com/2012/02/13/technology/start-ups-aim-to-help-users-put-a-
 price-on-their-personal-data.html (last visited July 30, 2021).

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 policies of protecting their data.18

        79.     Thus, in today’s economy, individuals and businesses alike place a

 real, quantifiable value on consumer data and corresponding privacy rights.19

      Meredith Unlawfully Rents and Otherwise Discloses for Compensation Its
                    Customers’ Private Purchase Information

        80.     Meredith maintains a vast digital database comprised of its customers’

 Private Purchase Information. Meredith discloses for compensation its customers’

 Private Purchase Information to data aggregators and appenders, who then

 supplement that information with additional personal information about each of its

 customers, including his or her gender, age, income, ethnicity, policital views,

 lifestyle interests, preferred travel locations, hobbies, reading habits, health and

 exercise routines, and sports and outdoor interests. (See, e.g., Exhibit A at 2). The

 “enhanced” customer lists that Meredith receives back from the data aggregators

 and data appenders are more valuable to Meredith than its original customer lists,


 18
         See Exhibit P, Tsai, Cranor, Acquisti, and Egelman, The Effect of Online
 Privacy Information on Purchasing Behavior, 22(2) Information Systems Research
 254, 254 (2011); see also European Network and Information Security Agency,
 Study      on    monetising    privacy     (Feb.     27,     2012),    available at
 https://www.enisa.europa.eu/activities/identity-and-
 trust/library/deliverables/monetising-privacy (last visited July 30, 2021).
 19
        See Exhibit Q, Hann, et al., The Value of Online Information Privacy: An
 Empirical       Investigation     (Oct.     2003)       at     2,    available    at
 http://citeseerx.ist.psu.edu/viewdoc/download?doi=10.1.1.321.6125&rep=rep1&ty
 pe=pdf (last visited July 30, 2021) (“The real policy issue is not whether consumers
 value online privacy. It is obvious that people value online privacy.”).
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 and can be sold or rented by Meredith to other third parties for more money than its

 original customer lists. In this way, Meredith increases its profits gained from its

 sales and rentals of its customer lists.

       81.     Meredith then rents, exchanges, and/or otherwise discloses for

 compensation its customer lists—which include all of its customers’ Private

 Purchase Information, identifying which individuals purchased Meredith’s

 publications, and can include the other sensitive information obtained from data

 aggregators and appenders—to other data aggregators and appenders, direct-mail

 advertisers, consumer-facing businesses, non-profit organizations seeking to raise

 awareness and solicit donations, and political organizations soliciting donations,

 votes, and volunteer efforts. (See Exhibit A).

       82.     Meredith also discloses for compensation its customers’ Private

 Purchase Information to data cooperatives, which in turn give Meredith access to

 their own list databases. These third-party customer list databases contain

 information that is valuable to Meredith, as they enable Meredith to identify

 prospective customers (i.e., “prospects”) to whom it can send advertisements and

 other offers to sell its tangible and/or intangible property, and with whom it can

 ultimately enter into consumer transactions with and generate revenue from.

       83.     In short, Meredith disclosed and continues to disclose its customers’

 Private Purchase Information to anybody willing to pay for it.

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       84.     As a result of Meredith’s data compiling and sharing practices,

 companies can purchase, rent, exchange for, or otherwise obtain for compensation

 mailing lists from Meredith that identify Meredith’s customers by their most

 intimate details, including but not limited to the fact that they purchased Meredith

 products, which products they purchased and the dollar amount of their purchases,

 as well as their gender, age, religion, and ethnicity. Meredith’s disclosure of such

 sensitive and private information to any member of the public interested in

 purchasing it is invasive of its customers’ (including Plaintiffs and Class embers)

 privacy and intrusive upon their private affairs and concerns in a way that the

 average person would find highly offensive. Meredith’s disclosures also put its

 customers at risk of serious harm from scammers.

       85.     Meredith failed to provide prior notice of these disclosures to any of

 its customers as required by Utah Code Ann. 13-37-201, much less obtain their

 consent prior to making such disclosures. As a result, Meredith’s customers in Utah

 (and elsewhere throughout the country) remain unaware that their Private Purchase

 Information and other sensitive information is being rented, sold, and otherwise

 disclosed for compensation on the open market.

       86.     Consumers purchase Meredith’s products through numerous channels

 including the Internet, telephone, or traditional mail.    Regardless of how the

 consumer makes a purchase, during the applicable statutory period Meredith

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 uniformly failed to provide the notice required by Utah Code Ann. 13-37-201 to –

 much less obtain any form of consent from – its Utah-based customers before they

 made purchases from Meredith or before Meredith disclosed their Private Purchase

 Information to third parties for compensation.

       87.     By and through these actions, Meredith has disclosed to third parties

 its Utah-based customers’ Private Purchase Information for compensation without

 providing the requisite prior notice of such disclosures, in direct violation of the

 NISNPIA.

                        CLASS ACTION ALLEGATIONS

       88.   Plaintiffs seek to represent a class defined as all persons in Utah who

 had their Private Purchase Information obtained by Meredith on or after January 1,

 2004 as a result of a consumer transaction and who, at any point during the

 applicable statutory period, had such Private Purchase Information disclosed by

 Meredith to one or more third party (the “Class”). Excluded from the Class is any

 entity in which Meredith has a controlling interest, and officers or directors of

 Meredith.

       89.   Members of the Class are so numerous that their individual joinder

 herein is impracticable. On information and belief, members of the Class number in

 at least the tens of thousands. The precise number of Class members and their

 identities are unknown to Plaintiff at this time but may be determined through

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 discovery. Class members may be notified of the pendency of this action by mail

 and/or publication through Meredith’s distribution records.

       90.    Common questions of law and fact exist as to all Class members and

 predominate over questions affecting only individual Class members. Common

 legal and factual questions include, but are not limited to: (a) whether Meredith is a

 “commercial entity” within the meaning of the NISNPIA; (b) whether Meredith

 provided the notice required by the NISNPIA to Plaintiffs and Class members before

 they entered into consumer transactions with Meredith; (c) whether Meredith

 obtained Plaintiffs’ and Class members’ Private Purchase Information as a result of

 consumer transactions, and whether such information constitutes “nonpublic

 personal information” within the meaning of the NISNPIA; (d) whether Meredith

 disclosed Plaintiffs’ and Class members’ Private Purchase Information to a third

 party; and (e) whether Meredith’s disclosures of Plaintiffs’ and Class members’

 Private Purchase Information to third parties violated the NISNPIA.

       91.    The named Plaintiffs’ claims are typical of the claims of the Class in

 that the named Plaintiffs and the Class members have all suffered invasions of their

 statutorily protected right to privacy (as afforded by the NISNPIA) ), as well as

 intrusions upon their private affairs and concerns that would be highly offensive to

 a reasonable person, as a result of Meredith’s uniform wrongful conduct, based upon

 Meredith’s disclosures of Plaintiffs’ and Class members’ Private Purchase

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 Information to third parties for compensation.

       92.    Plaintiffs are adequate representatives of the Class because their

 interests do not conflict with the interests of the Class members they seek to

 represent, they have retained competent counsel experienced in prosecuting class

 actions, and they intend to prosecute this action vigorously. The interests of Class

 members will be fairly and adequately protected by Plaintiffs and their counsel.

       93.    The class mechanism is superior to other available means for the fair

 and efficient adjudication of the claims of Class members. Each individual Class

 member may lack the resources to undergo the burden and expense of individual

 prosecution of the complex and extensive litigation necessary to establish Meredith’s

 liability. Individualized litigation increases the delay and expense to all parties and

 multiplies the burden on the judicial system presented by the complex legal and

 factual issues of this case. Individualized litigation also presents a potential for

 inconsistent or contradictory judgments. In contrast, the class action device presents

 far fewer management difficulties and provides the benefits of single adjudication,

 economy of scale, and comprehensive supervision by a single court on the issue of

 Meredith’s liability. Class treatment of the liability issues will ensure that all claims

 and claimants are before this Court for consistent adjudication of the liability issues.



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                                CAUSE OF ACTION
                      Violation of Utah’s Notice of Intent to Sell
                        Nonpublic Personal Information Act
                              (Utah Code Ann. § 13-37)

        94.    Plaintiffs repeat the allegations contained in the foregoing paragraphs

 as if fully set forth herein.

        95.    Plaintiffs bring this claim individually and on behalf of members of the

 Class against Meredith.

        96.    Meredith has one or more office(s) or other place(s) of business in Utah,

 including but not limited to at 1108 E. South Union Ave., Midvale, Utah 84047 (a

 location overseen by Meredith’s registered agent on Meredith’s behalf).

 Additionally, Meredith has employees who work for Meredith from Utah (and thus

 conduct business on Meredith’s behalf at places in Utah). And in the ordinary course

 of its business, Meredith enters into transactions with consumers in Utah.

 Accordingly, Meredith is a “commercial entity” within the meaning of the

 NISNPIA. See Utah Code Ann. § 13-37-102(2)(a).

        97.    On or after January 1, 2004, Plaintiffs purchased subscription(s) to

 magazines from Meredith, constituting “tangible” or “intangible” property.

        98.    Meredith’s sales of tangible and/or intangible property belonging to

 Plaintiffs, including subscriptions to several of its magazines, were initiated or

 completed in Utah, where Plaintiffs resided at the time she purchased her

 subscriptions and where she received her subscriptions in the mail. Accordingly,

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 Meredith entered into “consumer transactions” with Plaintiff within the meaning of

 the NISNPIA. See id. § 13-37-102(4)(a)(i).

       99.     As a result of such consumer transactions, Meredith obtained

 information pertaining to Plaintiff that Plaintiff provided at Meredith’s request, and

 which Meredith would not otherwise have obtained but for entering into such

 consumer transactions with Plaintiff. See id. § 13-37-201(1)(b). This information,

 referred to herein as Plaintiffs’ Private Purchase Information, included Plaintiffs’

 “purchasing habits” and “personal preferences” within the meaning of the NISNPIA.

       100. At various times during the applicable statutory period, Meredith

 disclosed Plaintiffs’ Private Purchase Information, which identified her as a

 purchaser of particular Meredith magazines, in at least three ways.

       101. First, Meredith disclosed customer lists containing Plaintiffs’ Private

 Purchase Information to data aggregators and data appenders, who then

 supplemented the lists with additional sensitive information from their own

 databases, before sending the lists back to Meredith.

       102. Second, Meredith disclosed mailing lists containing Plaintiffs’ Private

 Purchase Information to data cooperatives, who in turn gave Meredith access to their

 own consumer list databases.

       103. Third, Meredith rented, sold, exchanged, and/or otherwise disclosed its

 customer lists containing Plaintiffs’ Private Purchase Information—enhanced with


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 additional information from data aggregators and appenders—to third parties,

 including other consumer-facing companies, direct-mail advertisers, and

 organizations soliciting monetary contributions, volunteer work, and votes.

       104. Because many of Meredith’s customer lists included the additional

 information from the data aggregators and appenders, the lists were more valuable

 and Meredith was able to increase its profits gained from the list rentals and/or

 exchanges.

       105. Meredith made each disclosure of Plaintiffs’ Private Purchase

 Information, to each of the entities described in the preceding paragraphs, for

 compensation – namely, money. Indeed, Meredith’s disclosures of Plaintiffs’ Private

 Purchase Information were made to data aggregators, data appenders, data

 cooperatives, direct-mail advertisers, and organizations soliciting monetary

 contributions, volunteer work, and votes—all in order to increase Meredith’s

 revenue.

       106. The information Meredith disclosed indicates Plaintiffs’ names and

 addresses, as well as the fact that she purchased subscriptions to particular Meredith

 publications, which was information not otherwise in the public domain. See id. §

 13-37-102(5). Because the records or information disclosed by Meredith reveal

 Plaintiffs’ “purchasing patterns” and “personal preferences,” and “identif[y]

 [Plaintiff] in distinction from other persons,” the records or information Meredith

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 disclosed to third parties constitute “nonpublic personal information” within the

 meaning of the NISNPIA. See id. § 13-37-102(5).

       107. Neither Plaintiffs nor any member of the Class consented to Meredith

 disclosing their Private Purchase Information to anyone.

       108. Worse yet, at no time before entering into consumer transactions with

 Meredith or providing their Private Purchase Information to Meredith did Plaintiffs

 or any member of the Class receive the notice required by Utah Code Ann. § 13-37-

 201. Specifically, prior to entering into consumer transactions with Plaintiffs and

 Class members and obtaining Plaintiffs’ and Class members’ Private Purchase

 Information, Meredith failed to provide Plaintiff or any member of the Class with a

 clear and conspicuous notice in dark bold writing (or orally), such that a reasonable

 person would perceive the notice, stating that “[w]e may choose to disclose

 nonpublic personal information about you, the consumer, to a third party for

 compensation.” Id. § 13-37-201(3)(a).

       109. Meredith’s disclosures of Plaintiffs’ and Class members’ Private

 Purchase Information were not made to third parties in “relat[ion] to the third

 part[ies] providing to [Meredith] . . . services, including business outsource

 services[,] personal or real property[,] or other thing[s] of value,” and the

 “compensation received by [Meredith] as part of the transaction[s] [with third

 parties] [was not] received by [Meredith] for or in consideration of such “third

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 part[ies] providing to [Meredith] [such] services, . . . personal or real property[,] or

 other thing[s] of value.” Id. § 13-37-201(5).

       110. Meredith’s undisclosed, nonconsensual disclosures of all of its

 customers’ Private Purchase Information intruded substantially upon the solitude

 and seclusion (including the personal affairs and concerns) of each of the Plaintiffs

 and Class members, in a way that was highly offensive to Plaintiffs and would be

 highly offensive to a reasonable person, including members of the Class.

       111. Meredith is not “subject to a federal law or regulation that governs the

 disclosure of nonpublic information to a third party,” nor is Meredith “a covered

 entity as defined in 45 C.F.R. Parts 160 and 164.” See Utah Code Ann. § 13-37-

 201(4).

       112.    By disclosing Plaintiffs’ and Class members’ Private Purchase

 Information to third parties for compensation, without providing prior notice to

 Plaintiff or Class members as required by Utah Code Ann. § 13-37-201, Meredith

 violated Plaintiffs’ and Class members’ statutorily protected right to privacy in their

 nonpublic personal information pertaining to their consumer transactions, as

 afforded by the NISNPIA. See id. § 13-37-202(1) (“A commercial entity may not

 disclose nonpublic personal information that the commercial entity obtained on or

 after January 1, 2004, as a result of a consumer transaction if the commercial entity

 fails to comply with Section 13-37-201.”).


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       113. On behalf of herself and the Class, Plaintiffs seek: (1) $500.00 to

 Plaintiffs and each Class member, for each time Defendant failed to provide them

 the notice required by the NISNPIA in relation to their Private Purchase Information,

 pursuant to Utah Code Ann. § 13-37-203(2)(a); and (2) costs pursuant to Utah Code

 Ann. § 13-37-203(2)(b).

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff, individually and on behalf of all others similarly

 situated, seeks a judgment against Defendant as follows:

              A.     For an order certifying the Class under Rule 23 of the
                     Federal Rules of Civil Procedure and naming Plaintiffs as
                     representatives of the Class and Plaintiffs’ attorneys as
                     Class Counsel to represent the Class;

               B.    For an order declaring that Defendant’s conduct as
                     described herein violated Utah’s Notice of Intent to Sell
                     Non-Public Information Act;

               C.    For an order finding in favor of Plaintiffs and the Class on
                     all counts asserted herein;

               D.    For an award of $500.00 to Plaintiffs and each Class
                     member, for each time Defendant failed to provide them
                     the notice required by the NISNPIA in relation to their
                     Private Purchase Information, as provided by the
                     NISNPIA, Utah Code Ann. § 13-37-203(2)(a);

               E.    For prejudgment interest on all amounts awarded; and

               F.    For an order awarding Plaintiffs and the Class their
                     reasonable attorneys’ fees and expenses and costs of suit
                     pursuant to Rule 23 and Utah Code Ann. § 13-37-
                     203(2)(b).
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                                 JURY DEMAND

      Plaintiffs demand a trial by jury on all causes of action and issues so triable.


 Dated: August 5, 2024                 Respectfully submitted,

                                       PETERS ❘ SCOFIELD
                                       A Professional Corporation

                                       /s/ David W. Scofield
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                                       Class




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